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   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK

   In re:
                                                                    Chapter 11

   PATRIOT COAL CORPORATION, et al.,                                Case No. 12-12900 (SCC)

                                                                    (Jointly Administered)
   Debtors.1


                ORDER EXTENDING THE DEBTORS’ EXCLUSIVE PERIODS
                 WITHIN WHICH TO FILE A PLAN OF REORGANIZATION
                          AND SOLICIT VOTES THEREON

                     Upon the motion (the “Motion”)2 of Patriot Coal Corporation and its

   subsidiaries that are debtors and debtors in possession in these proceedings (collectively,

   the “Debtors”), for the entry of an order pursuant to section 1121(d) of the Bankruptcy

   Code extending the exclusive periods under sections 1121(b) and (c) of the Bankruptcy

   Code within which only the Debtors may file a plan of reorganization and solicit votes

   thereon, as more fully set forth in the Motion; and the Court having jurisdiction to

   consider the Motion and the relief requested therein pursuant to 28 U.S.C. § 1334 and the

   Standing Order of Referral of Cases to Bankruptcy Court Judges of the District Court for

   the Southern District of New York, dated July 10, 1984 (Ward, Acting C.J.) as amended

   by Standing Order M-431, dated February 1, 2012 (Preska, C.J.); and consideration of the

   Motion and the requested relief being a core proceeding the Bankruptcy Court can

   determine pursuant to 28 U.S.C. § 157(b); and due and proper notice of the Motion

            1
              The Debtors are the entities listed on Schedule 1 attached to the Motion. The employer tax
   identification numbers and addresses for each of the Debtors are set forth in the Debtors’ chapter 11
   petitions.
            2
             Unless otherwise defined herein, each capitalized term shall have the meaning ascribed to it in
   the Motion.
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   having been provided in accordance with the Debtors’ Case Management Order, and it

   appearing that no other or further notice need be provided; and there being no objections

   to the Motion; and the Court having reviewed the Motion and having held a hearing with

   appearances of parties in interest noted in the transcript thereof (the “Hearing”); and the

   relief requested in the Motion being in the best interests of the Debtors and their

   respective estates and creditors; and the Debtors having articulated good, sufficient and

   sound business justifications and compelling circumstances therefor; and the Court

   having determined that the legal and factual bases set forth in the Motion and at the

   Hearing establish just cause for the relief granted herein; and upon all of the proceedings

   had before the Court and after due deliberation and sufficient cause appearing therefore,

   it is hereby

                   ORDERED that the relief requested in the Motion is granted as set forth

   herein; and it is further

                   ORDERED that, pursuant to section 1121(d) of the Bankruptcy Code, the

   time within which the Debtors have the exclusive right to file a plan of reorganization

   pursuant to sections 1121(b) and (c)(2) of the Bankruptcy Code is extended through and

   including May 5, 2013; and it is further

                   ORDERED that, pursuant to section 1121(d) of the Bankruptcy Code, the

   time within which the Debtors may solicit acceptance, and no competing plans may be

   filed pursuant to section 1121(c)(3) of the Bankruptcy Code is hereby extended through

   and including July 4, 2013; and it is further

                   ORDERED that the relief requested herein is without prejudice to the

   Debtors’ right to seek additional extensions of the Debtors’ Exclusive Periods pursuant to

                                                   2
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   section 1121(d) of the Bankruptcy Code with respect to one or more of the Debtors; and

   it is further

                    ORDERED that this Court retains jurisdiction with respect to all matters

   arising from or related to the implementation of this Order; and it is further

                    ORDERED that notwithstanding any Federal Rule of Bankruptcy

   Procedure that might otherwise delay the effective time of this order, the terms and

   conditions of this Order shall be immediately effective and enforceable upon its entry.



   Dated: November 15, 2012
   New York, New York


                                          /s/ Shelley C. Chapman
                                          HONORABLE SHELLEY C. CHAPMAN
                                          UNITED STATES BANKRUPTCY JUDGE




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